                 Case 2:12-cr-00049-WBS Document
                             UNITED STATES       24 Filed COURT
                                              DISTRICT    08/09/12 Page 1 of 1
                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                         )
         v.                                              )   CR NO: 2:12-cr-00049 KJM
                                                         )
BRANDON ROBERTS, et al.
                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            BRANDON NIGEL ROBERTS
Detained at (custodian):         Clayton County Jail
Detainee is:   a.) 9 charged in this district by:
                           : Indictment              9 Information             9 Complaint
                           Charging Detainee With:   Conspiracy to Manufacture and Distribute
Marijuana and to Distribute Cocaine; Conspiracy to Commit Money Laundering
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary Forthwith in the Eastern District of California.
                                 Signature: /s/ Todd A. Pickles
                                 Printed Name & Phone No: Todd A. Pickles, AUSA/916-554-2766
                                 Attorney of Record for:     United States of America
                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                          9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, Forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
August 8, 2012
Date                                                                 United States Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                    Male :   Female 9
 Booking or CDC #:              LE # 1341410                                                DOB:     3/25/1976
 Facility Address:                Clayton County Jail                                       Race:    Black
                                   9157 Tara Blvd., Jonesboro, GA 30236                     FBI #:   262561HC6
 Facility Phone:                  770-477-4413                                              GA#      GA3551378X
 Currently Incarcerated For:      1.     Possession of Firearm by Felon
                                  2.     Theft by Receiving Stolen Property
                                                 RETURN OF SERVICE

Executed on                by
                                                                              (Signature)



Form Crim-48                                                                                            Revised 11/19/97
